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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                     Case Number 8:01cr222-002

                                                       USM Number 17192-047

WISDOM PAWNEE WEBSTER
               Defendant
                                                       JACKIE L. BARFIELD
                                                       Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                        (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard condition 7 and special condition 2 of the
term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                               Date Violation
        Violation Number                  Nature of Violation                   Concluded


                1                          Drug/Alcohol Use                    April 23, 2009

                2                     Home confinement violation               April 23, 2009

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                     Date of Imposition of Sentence:
                                                                                      June 19, 2009

                                                                               s/ Joseph F. Bataillon
                                                                         United States District Judge

                                                                                        June 24, 2009
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                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twenty-four (24) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.     Defendant shall be given credit for time served.

       (X) The defendant is remanded to the custody of the United States Marshal.


                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                             _____________________________
                                                                     Signature of Defendant

                                               RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                        __________________________________
                                                               UNITED STATES WARDEN

                                                    By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                          CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                    By:__________________________________
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                                     SUPERVISED RELEASE

No term of supervised release is imposed.

                             CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                         Total Fine               Total Restitution
            $200.00                                                         $790.02
             Paid                                                            Paid

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

       interest requirement is waived.

                                                 FINE

       No fine imposed.

                                          RESTITUTION

       Restitution in the amount of $790.02 is paid in full.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
